       Case 2:19-cv-00564-KWR-CG Document 76 Filed 10/27/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO
                                  _______________________

KIMBERLY HARRIS, and
ANGELIA STEELMAN,

               Plaintiffs,

v.                                                                   No. 2:19-cv-00564-KWR-CG

THE GOVERNING BOARD OF ARTESIA
GENERAL HOSPITAL, and RICHARD GIBSON, et al.,

               Defendants.


                       FINAL JUDGMENT PURSUANT TO RULE 68

       THIS MATTER comes before the Court on Plaintiffs’ Notices of Acceptance of

Defendants’ Offer of Judgment (Docs. 68, 69). Having reviewed the pleadings, the Court finds

entry of judgment well-taken.

       THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED that judgment is

entered against The Governing Board of Artesia General Hospital in the following amounts:

           •   Plaintiff Kimberly Harris: $48,000.00

           •   Plaintiff Angelia Steelman: $60,000.00

       These amounts shall be the total amount to be paid by all Defendants on account of any

and all liability claimed by Plaintiffs in this action. These amounts are exclusive of costs of suit

and attorneys’ fees otherwise recoverable in this action.
